Case 24-03056 Documenté6 Filed in TXSB on 06/04/24 Page 1of5

IN THE UNITED STATES DISTRICT BANKRUPTCY COURT

FOR THE SOUTHERN DISTRICT OF TEXAS Ny
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Joanna Burke, ) BANKRUPTCY CASENo. Sg
) 24-30855 “Oy
Plaintiff e
) ADVERSARIAL CASE No.
V. 24-03056
Deutsche Bank National Trust
Company, PHH Mortgage PLAINTIFF'S
Corporation, AVT Title Services, REQUEST FOR
LLC, DOES 1-10 CLERK’S ENTRY OF
DEFAULT AGAINST
Defendants ) DEFENDANTS

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE
JEFFREY P. NORMAN AND ALL INTERESTED PARTIES:

Pursuant to Fed. R. Bankr. P. 7055 and Fed. R. Civ. P., Rule 55(a),

Joanna Burke, Plaintiff in the above-referenced adversary proceeding and

in the above-referenced bankruptcy case (the “Plaintiff”), requests that you

enter the default of Defendants AVT Title Services, LLC, Deutsche Bank

National Trust Company and, PHH Mortgage Corporation. for failure to

appear, answer, plead in or otherwise defend this action as stated in the
Case 24-03056 Document 6 Filed in TXSB on 06/04/24 Page 2 of 5

Declaration of Joanna Burke in Support of Request for Clerk’s Entry of

Default Against Defendants filed contemporaneously herewith.

WHEREFORE, Plaintiff respectfully requests that the Clerk of the

Bankruptcy Court enter default against named Defendants.

RESPECTFULLY submitted this 27 day of May, 2024.

Joanna Burke, Harris County
State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com

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IN THE UNITED STATES DISTRICT BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

Joanna Burke, ) BANKRUPTCY CASENo.
24-30855
Plaintiff
) ADVERSARIAL CASE No.
Vv. 24-03056
Deutsche Bank National Trust }
Company, PHH Mortgage CLERK’S ENTRY OF
Corporation, AVT Title Services, |) DEFAULT
LLC, DOES 1-10
Defendants }

The Clerk for the United States Bankruptcy Court for the Southern
District of Texas, having reviewed the adversary docket in the above—styled
and numbered matter, and having received the Affidavit of the Plaintiff in
this cause, and having found that no answer, motion, pleading, response, or
appearance has been entered by or on behalf of Defendants AVT Title
Services, LLC, Deutsche Bank National Trust Company and PHH Mortgage
Corporation, hereby notes and dockets a Clerk's Entry of Default in the

above-captioned adversary proceeding.

For the Court, this day of , 2024

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Case Manager to Judge Jeffrey P. Norman United States Cou,
Outher Distr; ou,

Bob Casey United States Courthouse rien OL Of Texas

515 Rusk, Room 403 JUN 4 2004

Houston, Texas 77002
Nathan Ochsner Clerk of Court

Date: May 27, 2024

Re: Burke v. Deutsche Bank National Trust Company, 24-03056,
(Bankr. S.D. Tex.)

Dear Sir or Madam,
JOANNA BURKE'S FILINGS IN THIS CASE
Please find enclosed the following documents:-

1. PLAINTIFF'S REQUEST FOR CLERK’S ENTRY OF DEFAULT
AGAINST DEFENDANTS

2. PLAINTIFF'S DECLARATION IN SUPPORT OF REQUEST FOR
DEFAULT JUDGMENT AGAINST DEFENDANTS

3. CLERK'S ENTRY OF DEFAULT

Due to the recent unexplained delays in USPS Priority Mail arriving at
this court, I would kindly ask that you provide a hearing date on the

above pleadings.
If you have any questions, please contact me at the information below.
Thank you.

Sincerely,

rer Porte
oanna Burke

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Kingwood, TX, 77339

Email: joanna@2dobermans.com
Tel: (832) 466-9015

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Encls.

